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                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW HAMPSHIRE


United States of America

               v.                                      Criminal No. 10-cr-53- 05-JD

Thomas Blank


                                             ORDER


        The assented to motion to reschedule jury trial (document no. 48) filed by defendant is

granted. This case is specially assigned for trial on May 17, 2011, and no further continuances will

be granted. Counsel are expected to adjust their schedules accordingly and be prepared for trial on

this date.

        Defendant Blank shall file a waiver of speedy trial rights within 10 days. The court finds that

the ends of justice served by granting a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the reasons set forth in the motion.

        SO ORDERED.


                                                       /s/ Joseph A. DiClerico, Jr.
                                                       Joseph A. DiClerico, Jr.
                                                       United States District Judge

Date: December 21, 2010

cc:     Counsel of Record
        U.S. Marshal
        U.S. Probation
